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                                                                  U.S. DISTRICT COURT

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Attorneys for Plaintiffs


                             UNITED STATES DISTRICT COURT
                                   DISTRICT OF UTAH

MICHAEL YATES, individually and on
behalf of all others similarly situated; and
NORMAN L. JONES, individually and on            ORDER GRANTING PLAINTIFFS'
behalf of all others similarly situated,         MOTION FOR LEAVE TO FILE
                                               OVERLENGTH MOTION FOR CLASS
               Plaintiffs,                            CERTIFICATION

vs.
                                                   Civil No. 2: l 9-cv-00723-BSJ
TRAEGER PELLET GRILLS, LLC, a
Delaware limited liability company,                   Judge Bruce S. Jenkins

       Defendant.
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       This matter comes before the Court on Plaintiffs' Motion for Leave to File Overlength

Motion for Class Certification and Memorandum in Support, dated May 27, 2022. Having

considered Plaintiffs' Motion for Leave to File Overlength Motion for Class Certification and

Memorandum in Support and good cause having been shown, the Court hereby ORDERS that

Plaintiffs' Motion is GRANTED. Plaintiffs shall be granted leave to file a fifty-four (54) page
overlength Motion for Class Certification and Memorandum in Support.

       IT IS SO ORDERED.



DATED:
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